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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

LOUIS T. TORRES, JR.,
                          Plaintiff,

v.                                                          CV No. 19-1041 CG

ANDREW SAUL, Commissioner of the
Social Security Administration,

                          Defendant.

                                  FINAL JUDGMENT

      THE COURT, having issued the Order Granting Unopposed Motion to Remand

Under Sentence Four of 42 U.S.C. § 405(g), (Doc. 29), enters this Judgment in

compliance with Rule 58 of the Federal Rules of Civil Procedure. Defendant’s

Unopposed Motion for Remand Pursuant to Sentence Four of 42 U.S.C. § 405(g), (Doc.

28), shall be GRANTED. This case is remanded to the Commissioner for further

proceedings under Sentence Four of 42 U.S.C. § 405(g).

       IT IS SO ORDERED.

                                  _________________________________
                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
